Case 3:16-cv-00260-NJR-SCW Document 22 Filed 12/20/16 Page 1 of 2 Page ID #60




                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS


 KENNETH RUCKMAN                                )
                                                )
 Plaintiff,                                     )
                                                )
 v.                                             ) CASE NO. 3:16-CV-00260
                                                )
 MIDLAND CREDIT MANAGEMENT, INC.                )
                                                )
         Defendants.                            )



                            STIPULATION OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Kenneth Ruckman, and

 Defendant, Midland Credit Management, Inc., stipulate to the dismissal of this action

 with prejudice. Each party to bear their own costs.

 Dated: December 20, 2016



                                          RESPECTFULLY SUBMITTED,

                                          /s/ James W. Eason (with consent)
                                          ______________________________
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Case 3:16-cv-00260-NJR-SCW Document 22 Filed 12/20/16 Page 2 of 2 Page ID #61




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